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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
NORFOLK DIVISION

 

IN RE ZETIA (EZETIMIBE) ANTITRUST
LITIGATION

This document relates to: MDL No. 2:18-md-2836

All Actions

 

 

PRETRIAL ORDER NO. 11

The direct purchaser plaintiffs, end-payor plaintiffs, retailer plaintiffs, and new plaintiffs!
and the defendants? in the above-referenced actions, through their respective counsel, hereby
jointly stipulate as follows with respect to a schedule for discovery of the new plaintiffs and for
all remaining pretrial deadlines for the parties proceeding to trial in April 2023, consistent with
the Court’s instruction during the July 22, 2022 status conference.

The parties shall adhere to the agreed upon dates in the following schedule. Should any
future modification to the schedule become necessary in the view of any party, the parties shall
confer and submit a request to the Court to amend the schedule on a joint or opposed basis, as

appropriate.

 

' The new plaintiffs are McKesson Corporation, AmerisourceBergen Corporation,
AmerisourceBergen Drug Corporation, H.D. Smith, LLC, Smith Medical Partners, LLC, Valley
Wholesale Drug Company, LLC, Cardinal Health, Inc., The Harvard Drug Group, L.L.C.,
Cardinal Health P.R. 120, Inc., Meijer, Inc., Meijer Distribution, Inc., SUPERVALU, Inc.,
Wegmans Food Markets, Inc., KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc., MLI RX,
LLC, Burlington Drug Company, Inc., Dakota Drug, Inc., J. M. Smith d/b/a Smith Drug
Company, Louisiana Wholesale Drug Co., Inc., North Carolina Mutual Wholesale Drug
Company, Prescription Supply, Inc., Value Drug Company, and Giant Eagle, Inc.

2 The defendants are Merck & Co., Inc., Merck Sharp & Dohme LLC f/k/a Merck Sharp &
Dohme Corp., Schering-Plough Corp., Schering Corp., MSP Singapore Co. LLC, Glenmark
Pharmaceuticals, Ltd., and Glenmark Pharmaceuticals Inc., USA.
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New Plaintiffs serve initial disclosures. August 12, 2022

 

Defendants respond to second amended complaint August 15, 2022
filed by FWK Holdings, LLC et al.

 

Defendants respond to complaints filed by Burlington September 6, 2022
Drug Company, Inc. et al. and Giant Eagle, Inc.

 

New Plaintiffs substantially comply with discovery September 30, 2022?
requests, including written responses and document

 

 

productions.
New Plaintiffs serve damages expert reports, if any. October 14, 2022
Deadline for Plaintiffs to disclose trial witness list October 28, 2022

pursuant to Rule 26(a)(3)(A)(i).*

 

Defendants serve responsive expert reports to New November 14, 2022
Plaintiffs’ damages expert reports, if any.

 

New Plaintiffs advise which experts will be preparing November 22, 2022
rebuttal damages expert reports.

 

New Plaintiffs serve rebuttal damages expert reports. December 6, 2022

 

Deadline to complete depositions of New Plaintiffs’ December 22, 2022
and Defendants’ experts.°

 

Parties exchange Rule 26(a)(3) disclosures other than January 9, 2023
those required to be disclosed on October 28.

 

 

 

 

 

3 This deadline applies only to (i) the assignments and data the New Plaintiffs have already
agreed to produce and (ii) the forecasts the Court ordered that they produce at the August 17,
2022 hearing on New Plaintiff discovery. Should the Court permit the Defendants to serve any
additional discovery requests on the New Plaintiffs, the parties will confer in an effort to agree
on the deadline to substantially comply with those discovery requests.

4 The Court has ruled that Defendants will be permitted to depose witnesses disclosed by
Plaintiffs pursuant to Rule 26(a)(3). The parties will confer in an effort to agree on a deadline by
which to complete these depositions. Should the Court permit Defendants to take any other
depositions, or should the parties agree to such depositions, the parties will similarly confer in an
effort to agree on a deadline by which to complete those depositions.

5 Both parties reserve their rights with respect to whether experts issuing two reports may be
deposed twice or just once.
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Event Date
Parties file motions in /imine. January 17, 2023
Parties file oppositions to motions in /imine. January 30, 2023
Parties serve objections to Rule 26(a)(3) disclosures. February 17, 2023
Attorneys conference. February 14, 2023
Parties serve proposed draft of pretrial order. February 21, 2023
Parties file proposed voir dire, jury instructions, trial February 28, 2023
briefs, and witness summaries.
Final pretrial conference. March 22, 2023
Parties submit trial exhibits (original and two copies, April 7, 2023

bound, tabbed, numbered, and indexed) in binders per
Local Rule 79.

 

 

 

 

Trial begins.° April 10, 2023

 

IT IS SO STIPULATED, through counsel of record.

 

 

 

SO ORDERED.
iy ERS
Rebecca Beach Smith
Senior United States Distri
Dated © eke Ab. 2022 es District Judge

The Honorable Rebecca Beach Smith
Senior United States District Judge

 

® On October 6, 2022, Glenmark filed a motion to modify the trial date in order to
accommodate Glenmark’s co-lead counsel’s religious observance of Passover. As a result, the
trial start date may change.
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WE ASK FOR THIS:

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ELD. Smith, LLC, Smith Medical Partners, LLC,

Valley Wholesale Drug Company, LLC, Cardinal Health,
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Health P.R. 120, Inc., Meijer, Inc., Meijer Distribution,
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KPH Healthcare Services, Inc. a/k/a Kinney Drugs, Inc.,
MLI RX, LLC
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CVS Pharmacy, Inc. and New Plaintiffs
Burlington Drug Company, Inc., Dakota

Drug, Inc., J M Smith Corporation d/b/a

Smith Drug Company, Louisiana Wholesale
Drug Co., Inc., North Carolina Mutual Wholesale
Drug Company, Prescription Supply, Inc., Value
Drug Company, and Giant Eagle, Inc.

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